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September 9, 2024

E-Filed

The Honorable Thomas S. Hixson
United States District Court for the Northern District of California
San Francisco Courthouse, Courtroom E – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Re:    Kadrey, et al v. Meta Platforms, Inc.; Case No. 3:23-cv-03417-VC

Dear Magistrate Judge Hixson:

Defendant Meta Platforms, Inc. (“Meta”) writes in response to Plaintiffs’ letter this morning
regarding today’s 1:00 p.m. telephonic hearing (Dkt. 130). Plaintiffs seek to cancel the hearing
based on alleged mootness and non-ripeness. Meta disagrees that the hearing should be cancelled
and respectfully requests that the hearing proceed. Plaintiffs did not notify Meta that they would
be submitting a letter to the Court this morning. Attached as Exhibit A is the parties’ email
exchange regarding this topic from Friday evening.

(1) Return of Meta’s Privileged Communications and Related Correspondence:

This Court’s August 22, 2024 order (Dkt. 114) required that Plaintiffs not use Meta’s privileged
communications (the “Subject Communications”) and return them to Meta or destroy them.
Following that order, Meta immediately sought return of the Subject Communications from
Plaintiffs, as well as Plaintiffs’ email correspondence with Thomas Heldrup, the individual who
had retrieved the Subject Communications from Discord and provided those materials to Plaintiffs
in the first place. Notably, the Subject Communications and Plaintiffs’ communications with Mr.
Heldrup are all responsive to Meta’s discovery requests to Plaintiffs in this case. Notwithstanding
the Court’s August 22 order, Plaintiffs refused to return the Subject Communications to Meta or
provide Plaintiffs’ communications with Mr. Heldrup attaching and regarding the Subject
Communications. This prompted Meta to seek a conference with the Court on September 4, 2024.

After Meta sought the Court’s assistance, Plaintiffs produced to Meta the Subject Communications
on September 5, 2024, along with one related email from Mr. Heldrup. The one email between
Plaintiffs and Mr. Heldrup that Plaintiffs have produced makes clear there is other correspondence
between Plaintiffs and Mr. Heldrup. However, Plaintiffs refuse to produce their additional
correspondence with Mr. Heldrup regarding the Subject Communications. Meta seeks this Court’s
assistance in obtaining the remainder of Plaintiffs’ correspondence with Mr. Heldrup, which is at
a minimum relevant because Plaintiffs are seeking Judge Chhabria’s review of the August 22
order, and Meta is entitled to know the full context of how Plaintiffs came into possession of
Meta’s privileged communications. Plaintiffs previously asserted work product protection over
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their communications with Mr. Heldrup (without identifying him at the time), a position that has
been shown to be clearly frivolous, as Plaintiffs have disavowed any attorney-client relationship
with Mr. Heldrup. Meta respectfully submits that given the close relationship between the Heldrup
correspondence and the privilege issue resolved by the Court, and Plaintiffs’ clear refusal to
provide the remainder of their Heldrup correspondence, the parties would benefit from the Court’s
immediate guidance rather than having to further brief the issue as Plaintiffs now suggest.

(2) Plaintiffs’ Failure to Provide Deposition Dates for Plaintiffs or Identify Meta Deponents:

Meta seeks the Court’s assistance in obtaining deposition dates for the ten depositions that Meta
seeks from Plaintiffs, as well as requiring Plaintiffs to specify which Meta witnesses it seeks to
depose before the close of fact discovery on September 30, 2024. Plaintiffs do not argue that this
issue is moot, and it is not; it is also fully ripe. Plaintiffs have only provided dates for five of the
ten depositions requested by Meta (most only after Meta sought this Court’s intervention), and
Meta is awaiting requests for six of its witnesses and Plaintiffs’ proposed Rule 30(b)(6) notice.
Far from asking anyone “to ramrod twenty depositions before the September 30 fact discovery
cutoff,” Dkt. 130 at 2, Meta is abiding by the case schedule currently in force. Judge Chhabria
ordered that schedule with full awareness that it was an aggressive but doable case schedule.

On Friday, faced with their lack of diligence in completing discovery, Plaintiffs filed a motion for
a three-month extension of the case schedule (Dkt. 129), which will be briefed in due course.
Relevant here is that Plaintiffs have been delaying providing deposition date for Plaintiffs and
identifying Meta witnesses for deposition in hopes of improving their case for a discovery
extension. This is impermissible. Plaintiffs should be ordered to promptly provide dates for all
ten depositions sought by Meta and identify which Meta witnesses they seek to depose, so that fact
discovery can be completed by September 30. Meta has made clear to Plaintiffs that it will
accommodate discrete requests to take depositions outside the fact discovery period upon a
showing of need, but it is improper for Plaintiffs simply not to comply with the current schedule.

(3) Plaintiffs’ Failure to Provide Their Section of a Joint Letter Brief:

Meta has been seeking to bring disputes regarding Plaintiffs’ discovery responses to the Court
since sending Plaintiffs Meta’s section of joint letter brief on August 29. Meta asked Plaintiffs to
send their portion last week so that this could be submitted to the Court by September 6. Plaintiffs
refused to do so, eventually stating that they would send their portion of the brief to Meta on
September 10, but only “if Meta agrees there will be no more edits, and the letter will be filed as
is after we provide our response.” Meta could not agree to those terms, not only because there was
no reason to delay submission until September 10, but also because it is standard practice for both
sides to a letter brief submission to be able to review and edit following the other side’s revision.
Meanwhile, Plaintiffs this week seek to brief their own complaints about Meta’s discovery
responses in a schedule that would require Meta to respond in a day. Meta seeks this Court’s
assistance in ensuring Plaintiffs promptly respond to Meta’s requests to present issues to the Court,
and that Meta is permitted to revise the brief regarding Plaintiffs’ deficiencies before submission.

Finally, as Meta informed Plaintiffs on Friday, the Court’s time permitting, Meta also would like
to raise on today’s conference Meta’s outstanding request for Plaintiffs’ copyright materials. This
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is a matter covered by Meta’s first request for production of documents. Plaintiffs agreed on a
July 30, 2024 call to investigate and confirm whether such copyright materials resided with their
representatives, agents, or attorneys who were likely to have handled such filings (which would
be within Plaintiffs’ possession, custody, or control).      Meta has received no follow-up from
Plaintiffs in spite of several reminders. The materials are not publicly available. Meta seeks a
representation that Plaintiffs (as promised) have done a thorough investigation, including of agents
and attorneys working for Plaintiffs, as well as production of all documents and communications
with the U.S. Copyright Office for each of the asserted works, including application filings, deposit
copies submitted to the Copyright Office, and any correspondence with the Copyright Office.

Meta appreciates the Court’s time and consideration.

Respectfully submitted,

/s/ Kathleen Hartnett
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